IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 04-0775
                              ((((((((((((((((

                   Ace American Insurance Company, Et Al.,

                                     v.

                   EAST SIDE SURGERY CENTER, INC., ET AL.

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                     On Petition for Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    The agreed motion to abate appeal, filed on  May  16,  2005,  is
granted, and this case is ABATED  to  allow  the  parties  to  proceed  with
settlement negotiations.
      2.    This case is removed from the Court's active docket  until  June
20, 2005, by which time the parties must file either a status  report  or  a
motion to dismiss.  The parties shall immediately notify  this  Court  about
any changes in status in the settlement proceedings.

      Done at the City of Austin, this 20th day of May, 2005.

                                       [pic]
                                       Andrew Weber, Clerk
                                       Supreme Court of Texas


                                       By Gena Pelham, Deputy Clerk




